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                        UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                                 :
ADAM J. and MELISSA                              :
SCHRADER,                                        :
Individually and                                 :
Husband and Wife                                 :
3200 Derry Street                                : NO.:
Harrisburg, PA 17111                             :
                                Plaintiffs,      :
                                                 :
                 v.                              :
                                                 :
                                                 :
DAUPHIN COUNTY                                   :
1400 Linglestown Rd,                             :
Harrisburg, PA 17110                             :
                                                 :
and                                              :
                                                 :
PENNSYLVANIA DEPARTMENT                          :
OF CORRECTIONS                                   :
1400 Linglestown Rd,                             :
Harrisburg, PA 17110                             :
                                                 :
and                                              : JURY TRIAL DEMANDED
                                                 :
SUSQUEHANNA TOWNSHIP                             :
POLICE DEPARTMENT                                :
1400 Linglestown Rd,                             :
Harrisburg, PA 17110                             :
                                                 :
and                                              :
                                                 :
PATROLMAN DARRYL BROWN                           :
Individually and in his official capacity as a   :
Police Officer in the                            :
Susquehanna Township Police Department           :
1400 Linglestown Rd,                             :
Harrisburg, PA 17110                             :
                                                 :
and                                              :
                                                 :
                                                 :
                                                 :
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CAPTAIN JEFFREY VARGO                            :
Individually and in his official capacity as a   :
Police Officer in the                            :
Susquehanna Township Police Department           :
1400 Linglestown Rd,                             :
Harrisburg, PA 17110                             :
                                                 :
and                                              :
                                                 :
SERGEANT ADAMS                                   :
Individually and in his official capacity as a
Police Officer in the                            :
Susquehanna Township Police Department           :
1400 Linglestown Rd,                             :
Harrisburg, PA 17110                             :
                                                 :
and                                              :
                                                 :
CORPORAL SOMMA                                   :
Individually and in his official capacity as a   :
Police Officer in the                            :
Susquehanna Township Police Department           :
1400 Linglestown Rd,                             :
Harrisburg, PA 17110                             :
                                                 :
and
                                                 :
DETECTIVES CAIRNS                                :
Individually and in his official capacity as a   :
Police Officer in the                            :
Susquehanna Township Police Department           :
1400 Linglestown Rd,                             :
Harrisburg, PA 17110                             :
                                                 :
and                                              :
                                                 :
PATROLMAN WAGNER                                 :
Individually and in his official capacity as a   :
Police Officer in the
Susquehanna Township Police Department
1400 Linglestown Rd,
Harrisburg, PA 17110

and
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 JOHN DOES 1-10

                                Defendants.


                                 CIVIL ACTION COMPLAINT

                                 JURISDICTION AND VENUE

1. Jurisdiction in this Honorable Court is based on a violation of federal law conferred by 28

   U.S.C. §1331.

2. Venue lies in this district in that the events giving rise to this claim occurred here, at least one

   (1) Defendant resides, maintains a principal place of business, and/or does business here,

   and/or the arrest which is the subject of this action is occurred within this district.

                                              PARTIES

3. Plaintiff, Adam and Melissa Schrader, are adult individuals, currently residing at the above

   captioned address.

4. Defendant, Dauphin County, is the responsible party administrator overseeing the police

   department and prison system found in its county.

5. Defendant, Pennsylvania Department of Corrections operate the correctional facilities in

   Pennsylvania.

6. Defendant, Susquehanna Township Police Department is a Law enforcement unit in Dauphin

   County, Pennsylvania.

7. Defendants, Captain Jeffrey Vargo is an adult individual who, at all times material herein,

   acted individually, as well as in his individual capacity as an agent, servant, workman, or

   employee of Susquehanna Township Police Department, acting under color of State law.

8. Defendants, Patrolman Darryl Brown (“Ptlm. Brown”) is an adult individual who, at all times

   material herein, acted individually, as well as in his individual capacity as an agent, servant,
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   workman, or employee of Susquehanna Township Police Department, acting under color of

   State law.

9. Defendants, Sergeant Adams (“Sgt. Adams”) is an adult individual who, at all times material

   herein, acted individually, as well as in his individual capacity as an agent, servant,

   workman, or employee of Susquehanna Township Police Department, acting under color of

   State law.

10. Defendants, Corporal Somma (“Cpl. Somma”) is an adult individual who, at all times

   material herein, acted individually, as well as in his individual capacity as an agent, servant,

   workman, or employee of Susquehanna Township Police Department, acting under color of

   State law.

11. Defendants, Detective Cairns (“Det. Cairns”) is an adult individual who, at all times material

   herein, acted individually, as well as in his individual capacity as an agent, servant,

   workman, or employee of Susquehanna Township Police Department, acting under color of

   State law.

12. Defendants, Patrolman Wagner (“Ptlm Wagner”) is an adult individual who, at all times

   material herein, acted individually, as well as in his individual capacity as an agent, servant,

   workman, or employee of Susquehanna Township Police Department, acting under color of

   State law.

13. Defendants, John Does 1-10, is a moniker/fictitious name for individuals and entities

   currently unknown but will be substituted when known, as affiliated, associated or liable

   hereunder for the reasons set forth below or inferred there from. Each of these parties are

   incorporated as Defendants in each and every count and averment listed above and below,

   Upon information and belief, Defendants, John Does, were agents, servants, workmen, or
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   employees of Co-Defendants, liable to Plaintiffs hereunder.

                                     OPERATIVE FACTS

14. On or about January 2014, Plaintiffs moved in with Adam Schrader’s mother at 227 South

   19th Street, Harrisburg, PA 17104 to help take care of her while she was battling cancer.

15. In an effort to generate income while they were living with Plaintiff’s mother, Plaintiffs had

   rented a house located at 3200 Derry Street, Harrisburg, PA 17111, to Melissa Schrader’s

   nephew, Jacob Romberger for $1000.00 per month plus utilities.

16. Without Plaintiff's’ knowledge or permission, Jacob Romberger sublet the home to Terry

   Wiggins-Thompson and Raymond Wiggins (and other parties.)

17. In February 2015, Jacob Romberger was having various issues with Terry Wiggins-

   Thompson and Raymond Wiggins, and informed Plaintiffs of the sublet.

18. Plaintiffs were forced to serve a Notice to Quit to Thompson and Wiggins, to have them

   leave the property by February 17, 2015.

19. On or about February 17, 2015, Plaintiffs were informed by Jacob Romberger that Terry

   Wiggins-Thompson, and Raymond Wiggins had left the property.

20. On or about April 13, 2015 Plaintiff, Adam Schrader was working at his mother-in-law’s

   home when Defendants, Ptlm. Brown, Cpl. Somma, and Sgt. Adams arrived at his residence

   and asked to speak to him.

21. Sgt. Adams told Plaintiff, Adam Schrader that Terry Wiggins-Thompson, and Raymond

   Wiggins were squatting in an abandoned home three (3) doors down at 30 North 34th Street,

   and that Terry Wiggins-Thompson and Raymond Wiggins told the police that Plaintiffs,

   Adam and Melissa Schrader had given them permission to stay in the property.

22. Plaintiff, Adam Schrader told Defendant, Susquehanna Township Police Department that he
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   was not aware that Terry Wiggins-Thompson and Raymond Wiggins were squatting in the

   property and never advised them that they could stay there.

23. Defendant, Susquehanna Township Police Department claimed that Terry Wiggins-

   Thompson, and Raymond Wiggins had proof of receipt paying rent to Plaintiff, Adam and

   Melissa Schrader.

24. Defendant, Ptlm. Brown arrested Plaintiff, Adam Schrader and transferred him to the Police

   Station.

25. On or about April 13, 2015, Plaintiff, Adam Schrader was charged with “Theft by Deceit-

   False Impression” by the Dauphin County District Attorney’s office. Exhibit A.

26. Plaintiffs discovered that Terry Wiggins-Thompson, and Raymond Wiggins had been

   arrested several times for squatting and failure to pay rent.

27. Plaintiffs’ attorney made several attempts to have the charges dropped after presenting

   evidence that Plaintiffs did not know Terry Wiggins-Thompson and Raymond Wiggins and

   that they did not advise them they could stay in the abandoned property.

28. On or about August 22, 2015, the Commonwealth dropped the charges against the Plaintiffs.

   Exhibit B.

29. Plaintiff, Adam Schrader was imprisoned for about 183 days as a result.

30. At the time, Plaintiff, Adam Schrader was studying to be a drug and alcohol counselor.

31. He was forced to drop out of course because of the incarceration and his loan payment is now

   past due.

32. Plaintiff, Adam Schrader now has to pay an additional $7,000.00 to be able to continue his

   education.

33. On or about April 15, 2015, Plaintiff Melissa Schrader received a call from the Susquehanna
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   Township Police Department that she was also charged with “Theft by Deceit-False

   Impression” and she was threatened to be arrested at school, where she worked as a teacher

   unless she voluntarily went to the Police station for fingerprinting.

34. After Plaintiff, Melissa Schrader’s hearing, Ptlm. Brown told Melissa’s father that she was

   charged only because in these types cases, when the main suspect has a previous criminal

   background, it is more likely that the significant other of the main suspect is also involved in

   the case; and that is why they also charged Plaintiff, Melissa Schrader with her husband

   Plaintiff, Adam Schrader.

35. Plaintiff, Melissa Schrader is in the process of expunging her criminal record regarding this

   incident.

36. Since being charged, Plaintiff Melissa Schrader lost several job opportunities that she was

   qualified for just because of her criminal background check.

37. Plaintiffs forced to spend $14,885.00 for attorney fee and cost to defend their cases and

   expungement procedure.

38. Plaintiffs careers and livelihoods have been impacted.

39. Plaintiffs suffered emotional distress and significant financial harm.

40. At no time was there any evidence (probable cause/reasonable suspicion) connecting

   Plaintiffs to the charges of Theft with Deceit-False Impression.

                             COUNT I
   MALICIOUS PROSECUTION/ FALSE ARREST/ WRONGFUL IMPRISONMENT

41. Plaintiffs incorporates by reference all prior paragraphs as if fully set forth at length herein.

42. At the time of Defendant's investigation, arrest, charges, and imprisonment, Plaintiffs had not

   committed any infraction to legally justify the incarceration and charges.

43. Defendants’ actions stated above, inter alia, were committed under color of state law and
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    were violations of Plaintiffs’ clearly established and well-settled Constitutional and other

    legal rights.

 44. Defendants caused Plaintiffs to suffer a malicious prosecution by their wrongful conduct in

    subjecting Plaintiffs to false criminal charges, all in violation of the Fourth and Fourteenth

    Amendments to the United States Constitution.

 45. Defendants instituted criminal action against Plaintiffs by way of failing to properly

    investigate the conduct giving rise to their arrest.

 46. Plaintiffs were seized from the time they were arrested through the time Plaintiff, Adam

    Schrader was imprisoned.

 47. Defendants did not have probable nor any cause to arrest, charge, and/or accuse Plaintiffs of

    the criminal acts.

 48. The criminal action terminated in Plaintiffs’ favor – Plaintiffs’ charges were withdrawn.

                                           COUNT II
                                     LOSS OF CONSORTIUM

 49. Plaintiffs incorporate by reference all prior paragraphs as if fully set forth at length herein.

 50. As a result of the wrongful acts of Defendants, Plaintiffs were caused to suffer, and will

    continue to suffer in the future, loss of consortium, loss of society, affection, assistance, and

    conjugal fellowship, all to the detriment of their marital relationship.

 51. All of the aforesaid injuries and damages were caused solely and proximately by the

    Defendants.

                                              COUNT III
                                              MONELL

52. Plaintiffs incorporate by reference all prior paragraphs as if fully set forth at length herein.
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53. Prior to the events described herein, Defendants developed and maintained policies, practices,

   procedures and customs exhibiting deliberate indifference to the Constitutional rights of

   persons, which caused violations of Plaintiffs’ constitutional and other rights. Specifically,

   Defendants strip search inmates who are imprisoned for non-violent offenses without any

   reasonable suspicion, use excessive force, and deny reasonable medical care, including by a

   failure to train, supervise, or otherwise as inappropriately acceptably common.

54. The above described acts or omissions by Defendants, demonstrated a deliberate indifference

   to the rights of incarcerated citizens, such as Plaintiff, and were the cause of the violations of

   Plaintiff, Adam Schrader’s rights as set forth herein.

55. Plaintiffs suffered harm due to Defendants’ conduct.

        WHEREFORE, Plaintiffs respectfully requests this Honorable Court enter judgment in

their favor and against Defendants, individually, jointly and/or severally, in an amount in excess

of seventy-five thousand dollars ($75,000), plus such other and further relief as this Honorable

Court deems necessary and just, and to Order the following relief:

               a. Statutory damages;

               b. Punitive damages;

               c. Compensatory damages, including;

                      i.   Actual damages for financial and physical injuries, including but not

                           limited to wage loss and loss of earning capacity, and emotional

                           distress;

               d. Attorney’s fee, costs and equitable relief.
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Respectfully Submitted,

WEISBERG LAW                              SCHAFKOPF LAW, LLC


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